

West Side Marquis LLC v De Jourdan (2024 NY Slip Op 50454(U))



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West Side Marquis LLC v De Jourdan


2024 NY Slip Op 50454(U)


Decided on April 23, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on April 23, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Perez, JJ.



570015/24

West Side Marquis LLC, Petitioner-Appellant, 
againstBrenda De Jourdan, Respondent-Respondent, and Evelyn De Jourdan, Elan De Jourdan, "John Doe" and "Jane Doe," Respondents.




Petitioner, as limited by its brief, appeals from so much of an order of the Civil Court of the City of New York, New York County (Daniele Chinea, J.), dated August 5, 2022, granting respondent Brenda De Jourdan's cross motion for summary judgment dismissing the petition in a holdover summary proceeding.




Per Curiam.
Order (Daniele Chinea, J.), dated August 5, 2022, reversed, with $10 costs, respondent's cross motion for summary judgment denied, petition reinstated, and the matter remanded to Civil Court for further proceedings.
Inasmuch as respondent Brenda De Jourdan's entitlement to a renewal lease did not arise "on or after" the June 14, 2019 effective date of the Housing Stability and Tenant Protection Act of 2019 (HSTPA) (L 2019, ch 36, § 1, part E, § 2), the amendment to section 26-511(c)(14) of the Rent Stabilization Law, contained in HSTPA, does not apply (see West Side Marquis LLC v Moret, __ Misc 3d __, 2024 NY Slip Op 24055 [App Term, 1st Dept 2024]; West Side Marquis LLC v Maldonado, 81 Misc 3d 143[A], 2024 NY Slip Op 50169[U] [App Term, 1st Dept 2024]). Nor does the record persuade us of the absence of triable issues regarding the interpretation and application of section 3(C) of the DHCR-approved WSM Agreement with respect to respondent, the surviving spouse of the deceased stabilized tenant.
All concur
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
Clerk of the Court
Decision Date: April 23, 2024









